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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                         CR-12-08-GF-BMM-01

                     Plaintiff,
                                              ORDER ADOPTING FINDINGS AND
       vs.                                  RECOMMENDATIONS OF MAGISTRATE
                                             JUDGE TO REVOKE DEFENDANT’S
 JENNIFER RAE COBELL,                             SUPERVISED RELEASE

                     Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on May 13, 2015. (Doc. 168). Neither party filed

objections. The Court need not review de novo the proposed Findings and

Recommendations when no objections are filed. Thomas v. Arn, 474 U.S. 140,

149-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Cobell admitted to having violated two conditions of her supervised release.

(Doc. 168). Cobell admitted to having violated: (1) standard condition 7 by using a

controlled substance; (2) special condition 1 by failing to participate in substance

abuse testing. Id.
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      Judge Johnston found Cobell’s admissions sufficient to establish a

supervised release violation. (Doc. 168). Judge Johnston recommends that the

Court revoke Cobell’s supervised release and sentence Cobell to four (4) months

imprisonment with a term of eighteen (18) months of supervised release to follow.

Id. Judge Johnston further recommends that Cobell spend the first six (6) months

of her term of supervised release in a residential re-entry center. Id.

      Cobell’s criminal history category is III, the current offense is a Grade C

violation, and the underlying offense is a Class C felony. The statutory range is a

maximum of twenty-four months in custody. The applicable guideline custody

range is five to eleven months. The Court may impose a term of supervised release

of up to 36 months, less any custody time imposed.

      This Court finds no clear error in Judge Johnston’s Findings and

Recommendations and adopts them in full. Cobell admitted that she violated terms

of her supervised release. A sentence of four (4) months imprisonment with a term

of eighteen (18) months supervised release to follow is appropriate in light of her

continued non-compliance and substance abuse. Placement in a residential re-entry

center for the first six (6) months of her term of supervised release following her

discharge from incarceration is also appropriate.
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      IT IS HEREBY ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 168) is ADOPTED IN FULL. Judgment shall be entered

accordingly.

      DATED this 28th day of May, 2015.
